Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 1 of 33




            EXHIBIT E
                    Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 2 of 33

      P.O. BOX 51850
      LIVONIA MI 48151-5850                                                                   Phone Number: 866-825-2174
      RETURN SERVICE REQUESTED                                                                Fax: 866-467-1187
                                                                                              Email: Lossmitigation@shellpointmtg.com
      FATADTFFDTTAADAFTDFTDFTAFFDFADFATDTFTDDTAATFAAATDADADTFTDDFDTAFFD                       Mon - Thurs: 8:00AM-10:00PM
                                                                                              Fri: 8:00AM-10:00PM
      S-SFRECS20 L-1100-TX R-205
      PBM7DH00200241 - 612330735 I00962
      LAURA KING                                                               Loan Number:
      2574 OLD BOONE PRAIRIE RD                                                Principal Balance: $78,998.22
      FRANKLIN TX 77856-5218

                                                                                                                             02/13/2020




                                             NOTICE OF DEFAULT AND INTENT TO ACCELERATE


RE:         Deed of Trust/Mortgage Dated: 03/29/2004
            Loan #: 0570221872
            Property: 2574 Old Boone Prairie Rd
                      Franklin, TX 77856

Dear Laura King:

Shellpoint Mortgage Servicing, (“Shellpoint”), as the mortgage servicer for MTGLQ Investors, L.P., the creditor and holder of your
mortgage promissory note (your “Loan”), and in accordance with your Deed of Trust/Mortgage and applicable state laws, provides
you with formal notice of the following:

The Loan associated with the referenced Deed of Trust/Mortgage is in default for failure to pay amounts due.

To cure this default, you must pay all amounts due under the terms of your Loan. As of 02/13/2020, the total amount necessary to
bring your Loan current is $75,666.46. After today’s date please contact our office at 866-825-2174 as interest, payments, credits,
fees and/or other permissible charges can continue to cause your account balance to vary from day to day. Payment must be in the
form of cashier’s check, money order, or bank certified funds.

If you have not cured the default within forty-five (45) days of this notice, Shellpoint will accelerate the maturity date of the
Loan and declare all outstanding amounts under the Loan immediately due and payable.

You may have the right to reinstate your Loan after acceleration and the right to bring a court action to claim that your Loan is not
in default or any other defense to acceleration and sale that you may have. This notice remains in effect until the default is cured.

Upon acceleration of your Loan, Shellpoint will refer the property that is collateral for the Loan for foreclosure in accordance with
the terms of the Deed of Trust/Mortgage and applicable state laws.

Shellpoint is acting as the mortgage servicer for MTGLQ Investors, L.P., who is the mortgagee of the Note and Deed of Trust
associated with your real estate loan. Shellpoint, as mortgage servicer, is representing the mortgagee, whose address is 200 West St.,
New York NY 10282. The mortgage servicer is authorized to represent the mortgagee by virtue of a servicing agreement and Texas
Property Code 51.0025. The mortgage servicer is authorized to collect the debt and to administer any resulting foreclosure of the
property securing the referenced loan.

For your benefit and assistance, there are government approved homeownership counseling agencies designed to help homeowners
avoid losing their homes. To obtain a list of approved counseling agencies, please call (800) 569-4287.

This matter is very important. Please give it your immediate attention.

Si usted no entiende el contenido de esta carta, por favor contacte a uno de nuestros representantes que hablan español al número
866-825-2174.
                 SEE REVERSE SIDE OR ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS.
                                                                                                                P I000001               0102J0400
Sincerely,     Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 3 of 33
Shellpoint Mortgage Servicing
866-825-2174

Attention Servicemembers and Dependents: A debtor who is serving on active military duty may have special rights or relief
related to this notice under federal law, including the Servicemembers Civil Relief Act (50 U.S.C. app Section 501 et seq) and state
law, including Section 51.015, Texas Property Code.

Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse is serving on
active military duty, including active military duty as a member of the Texas National Guard or the National Guard of
another state or as a member of a reserve component of the armed forces of the United States, please send written notice of
the active duty military service to the sender of this notice immediately.

COMPLAINTS REGARDING THE SERVICING OF YOUR MORTGAGE SHOULD BE SENT TO THE DEPARTMENT OF
SAVINGS AND MORTGAGE LENDING, 2601 N. Lamar, Suite 201 Austin, TX 78705. A TOLL-FREE CONSUMER HOTLINE
IS AVAILABLE AT (877) 276-5550.

LAS QUEJAS RELACIONADAS CON SUS SERVICIOS HIPOTECARIOS DEBEN SER ENVIADAS AL DEPARTAMENTO DE
AHORROS Y PRÉSTAMOS HIPOTECARIOS, 2601 N. Lamar, Suite 201 Austin, TX 78705. HAY A SU DISPOSICIÓN UNA
LÍNEA DE ATENCIÓN AL CLIENTE CON EL NÚMERO (877) 276-5550.
                     Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 4 of 33
                              Please read the following important notices as they may affect your rights.
NewRez LLC dba Shellpoint Mortgage Servicing is a debt collector. This is an attempt to collect a debt and any information obtained will
be used for that purpose. NewRez LLC dba Shellpoint Mortgage Servicing’s NMLS ID is 3013.
If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice
                                                                                                                                                [fl
is to advise you of the status of your mortgage loan. This notice constitutes neither a demand for payment nor a notice of personal liability
to any recipient hereof, who might have received a discharge of such debt in accordance with applicable bankruptcy laws or who might be
subject to the automatic stay of Section 362 of the United States Bankruptcy Code. However, it may be a notice of possible enforcement of
the lien against the collateral property, which has not been discharged in your bankruptcy.
Attention Servicemembers and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide
important protections for you, including interest rate protections and prohibiting foreclosure under most circumstances during
and twelve months after the servicemember’s military or other service. Counseling for covered servicemembers is available from
Military OneSource (800-342-9647) and the United States Armed Forces Legal Assistance or other similar agencies. For more
information, please visit the Military OneSource website www.militaryonesource.mil/.
Notice of Error or Information Request Address: You have certain rights under Federal law related to resolving errors in the servicing
of your loan and requesting information about your loan. If you want to request information about your loan or if you believe an error has
occurred in the servicing of your loan and would like to submit an Error Resolution or Informational Request, please write to us at the
following address: Shellpoint Mortgage Servicing P.O. Box 10826 Greenville, SC 29603-0826
A successor in interest is someone who acquires an ownership interest in a property secured by a mortgage loan by transfer upon the death of a
relative, as a result of a divorce or legal separation, through certain trusts, between spouses, from a parent to a child, or when a borrower who
is a joint tenant or tenant by the entirety dies. If you are a successor in interest, or you think you might be, please contact by phone, mail or
email to start the confirmation process.
Our system of record has your preferred language as English.
If you prefer to receive communication in a language other than English, please contact us at 866-825-2174 to speak with a translator
in your preferred language about the servicing of your loan or a document you received.
Si prefiere recibir las comunicaciones en otro idioma que no sea el inglés, por favor, contáctenos en el 866-825-2174 para hablar con un
traductor en el idioma de su preferencia sobre la gestión de su préstamo o cualquier documento que haya recibido.
in:¥tillitffl~il~*~;lt.ftl!ila:i!tr3'frnt, •!tit! 866-825-2174, ftffl~ilfitiltil~ilj§f~jtffl
J$l~• M, ~titt1J:aBll4$;qff!fltfi»T~t&~Jt #:i!trfflii-t                               o

Please note that we operate as NewRez Mortgage LLC dba Shellpoint Mortgage Servicing in Arkansas and Texas.
Texas
Attention Texas Residents:
PURSUANT TO THE REQUIREMENTS OF SECTION 157.007 OF THE TEXAS MORTGAGE BANKER ACT, CHAPTER 157, TEXAS
FINANCE CODE, YOU ARE HEREBY NOTIFIED OF THE FOLLOWING:
COMPLAINTS REGARDING A LICENSED RESIDENTIAL MORTGAGE LOAN ORIGINATOR SHOULD BE SENT TO THE TEXAS
DEPARTMENT OF SAVINGS AND MORTGAGE LENDING, 2601 NORTH LAMAR, SUITE 201, AUSTIN, TEXAS 78705. A
TOLL-FREE CONSUMER HOTLINE IS AVAILABLE AT 1-877-276-5550.
THE DEPARTMENT MAINTAINS A RECOVERY FUND TO MAKE PAYMENTS OF CERTAIN ACTUAL OUT OF POCKET
DAMAGES SUSTAINED BY BORROWERS CAUSED BY ACTS OF LICENSED RESIDENTIAL MORTGAGE LOAN ORIGINATORS.
A WRITTEN APPLICATION FOR REIMBURSEMENT FROM THE RECOVERY FUND MUST BE FILED WITH AND INVESTIGATED
BY THE DEPARTMENT PRIOR TO THE PAYMENT OF A CLAIM. FOR MORE INFORMATION ABOUT THE RECOVERY FUND,
PLEASE CONSULT THE DEPARTMENT’S WEB SITE AT WWW.SML.TEXAS.GOV.
Texas
Atención Residentes de Texas:
DE CONFORMIDAD CON LOS REQUISITOS DE LA SECCIÓN 157.007 DE LA LEY HIPOTECARIA DE BANQUERO DE TEXAS,
CAPÍTULO 157, CÓDIGO DE FINANZAS DE TEXAS, LE INFORMAMOS DE LO SIGUIENTE:
QUEJAS ACERCA DE UN ORIGINADOR LICENCIADO DE PRÉSTAMOS HIPOTECARIOS RESIDENCIALES DEBEN ENVIARSE
AL TEXAS DEPARTMENT OF SAVINGS AND MORTGAGE LENDING, 2601 NORTH LAMAR, SUITE 201, AUSTIN, TEXAS 78705.
UNA LÍNEA TELEFÓNICA AL CONSUMIDOR GRATUITA ESTÁ DISPONIBLE EN 1-877-276-5550.
EL DEPARTAMENTO MANTIENE UN FONDO DE RECUPERACIÓN PARA REALIZAR LOS PAGOS DE CIERTOS DAÑOS REAL DE
BOLSILLO SOSTENIDOS POR LOS PRESTATARIOS CAUSADOS POR ACTOS DE UN ORIGINADOR LICENCIADO DE
PRÉSTAMOS HIPOTECARIOS RESIDENCIALES. UNA SOLICITUD ESCRITA PARA REEMBOLSO DEL FONDO DE
RECUPERACIÓN NECESITA SER PRESENTADA E INVESTIGADA POR EL DEPARTAMENTO ANTES DEL PAGO DE UNA
RECLAMACIÓN. PARA OBTENER MÁS INFORMACIÓN SOBRE EL FONDO DE RECUPERACIÓN, CONSULTE AL SITIO WEB
DEL DEPARTAMENTO EN WWW.SML.TEXAS.GOV.




                                                                                              PBM7DH00200241 I000964 S-SFRECS20 L-1100-TX
Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 5 of 33
                  Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 6 of 33
P.O. BOX 51850
LIVONIA MI 48151-5850
RETURN SERVICE REQUESTED                                                 USPS CERTIFIED MAILTM




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 S-SFRECS20 L-1100-TX-C R-205                                        9214 8969 0070 4257 1496 21
 PBM7E000200236 - 612359311 I01177
 LAURA KING
 2574 OLD BOONE PRAIRIE RD
 FRANKLIN TX 77856-5218




                                                                                                   002360103G0400
                    Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 7 of 33

      P.O. BOX 51850
      LIVONIA MI 48151-5850                                                                   Phone Number: 866-825-2174
      RETURN SERVICE REQUESTED                                                                Fax: 866-467-1187
                                                                                              Email: Lossmitigation@shellpointmtg.com
      DFFAFTTAFDATADDDATFFDDAFDADFDTFTAFFDDTAADTAAADTDFTFFFFATAAAFDTAFA                       Mon - Thurs: 8:00AM-10:00PM
                                                                                              Fri: 8:00AM-10:00PM
      S-SFRECS20 L-1100-TX-C R-205
      PBM7E000200236 - 612359311 I01178
      LAURA KING                                                               Loan Number:
      2574 OLD BOONE PRAIRIE RD                                                Principal Balance: $78,998.22
      FRANKLIN TX 77856-5218

                                                                                                                              02/13/2020




                                             NOTICE OF DEFAULT AND INTENT TO ACCELERATE


RE:         Deed of Trust/Mortgage Dated: 03/29/2004
            Loan #:
            Property: 2574 Old Boone Prairie Rd
                      Franklin, TX 77856

Dear Laura King:

Shellpoint Mortgage Servicing, (“Shellpoint”), as the mortgage servicer for MTGLQ Investors, L.P., the creditor and holder of your
mortgage promissory note (your “Loan”), and in accordance with your Deed of Trust/Mortgage and applicable state laws, provides
you with formal notice of the following:

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To cure this default, you must pay all amounts due under the terms of your Loan. As of 02/13/2020, the total amount necessary to
bring your Loan current is $75,666.46. After today’s date please contact our office at 866-825-2174 as interest, payments, credits,
fees and/or other permissible charges can continue to cause your account balance to vary from day to day. Payment must be in the
form of cashier’s check, money order, or bank certified funds.

If you have not cured the default within forty-five (45) days of this notice, Shellpoint will accelerate the maturity date of the
Loan and declare all outstanding amounts under the Loan immediately due and payable.

You may have the right to reinstate your Loan after acceleration and the right to bring a court action to claim that your Loan is not
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associated with your real estate loan. Shellpoint, as mortgage servicer, is representing the mortgagee, whose address is 200 West St.,
New York NY 10282. The mortgage servicer is authorized to represent the mortgagee by virtue of a servicing agreement and Texas
Property Code 51.0025. The mortgage servicer is authorized to collect the debt and to administer any resulting foreclosure of the
property securing the referenced loan.

For your benefit and assistance, there are government approved homeownership counseling agencies designed to help homeowners
avoid losing their homes. To obtain a list of approved counseling agencies, please call (800) 569-4287.

This matter is very important. Please give it your immediate attention.

Si usted no entiende el contenido de esta carta, por favor contacte a uno de nuestros representantes que hablan español al número
866-825-2174.
                 SEE REVERSE SIDE OR ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS.
                                                                                                                P I000002 A             020330000
Sincerely,     Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 8 of 33
Shellpoint Mortgage Servicing
866-825-2174

Attention Servicemembers and Dependents: A debtor who is serving on active military duty may have special rights or relief
related to this notice under federal law, including the Servicemembers Civil Relief Act (50 U.S.C. app Section 501 et seq) and state
law, including Section 51.015, Texas Property Code.

Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse is serving on
active military duty, including active military duty as a member of the Texas National Guard or the National Guard of
another state or as a member of a reserve component of the armed forces of the United States, please send written notice of
the active duty military service to the sender of this notice immediately.

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IS AVAILABLE AT (877) 276-5550.

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AHORROS Y PRÉSTAMOS HIPOTECARIOS, 2601 N. Lamar, Suite 201 Austin, TX 78705. HAY A SU DISPOSICIÓN UNA
LÍNEA DE ATENCIÓN AL CLIENTE CON EL NÚMERO (877) 276-5550.
                     Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 9 of 33
                              Please read the following important notices as they may affect your rights.
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If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice      ~
is to advise you of the status of your mortgage loan. This notice constitutes neither a demand for payment nor a notice of personal liability
to any recipient hereof, who might have received a discharge of such debt in accordance with applicable bankruptcy laws or who might be
subject to the automatic stay of Section 362 of the United States Bankruptcy Code. However, it may be a notice of possible enforcement of
the lien against the collateral property, which has not been discharged in your bankruptcy.
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and twelve months after the servicemember’s military or other service. Counseling for covered servicemembers is available from
Military OneSource (800-342-9647) and the United States Armed Forces Legal Assistance or other similar agencies. For more
information, please visit the Military OneSource website www.militaryonesource.mil/.
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of your loan and requesting information about your loan. If you want to request information about your loan or if you believe an error has
occurred in the servicing of your loan and would like to submit an Error Resolution or Informational Request, please write to us at the
following address: Shellpoint Mortgage Servicing P.O. Box 10826 Greenville, SC 29603-0826
A successor in interest is someone who acquires an ownership interest in a property secured by a mortgage loan by transfer upon the death of a
relative, as a result of a divorce or legal separation, through certain trusts, between spouses, from a parent to a child, or when a borrower who
is a joint tenant or tenant by the entirety dies. If you are a successor in interest, or you think you might be, please contact by phone, mail or
email to start the confirmation process.
Our system of record has your preferred language as English.
If you prefer to receive communication in a language other than English, please contact us at 866-825-2174 to speak with a translator
in your preferred language about the servicing of your loan or a document you received.
Si prefiere recibir las comunicaciones en otro idioma que no sea el inglés, por favor, contáctenos en el 866-825-2174 para hablar con un
traductor en el idioma de su preferencia sobre la gestión de su préstamo o cualquier documento que haya recibido.
in:¥tillitffl~il~*~;lt.ftl!ila:i!tr3'frnt, •!tit! 866-825-2174, ftffl~ilfitiltil~ilj§f~jtffl
J$l~• M, ~titt1J:aBll4$;qff!fltfi»T~t&~Jt #:i!trfflii-t                               o

Please note that we operate as NewRez Mortgage LLC dba Shellpoint Mortgage Servicing in Arkansas and Texas.
Texas
Attention Texas Residents:
PURSUANT TO THE REQUIREMENTS OF SECTION 157.007 OF THE TEXAS MORTGAGE BANKER ACT, CHAPTER 157, TEXAS
FINANCE CODE, YOU ARE HEREBY NOTIFIED OF THE FOLLOWING:
THE DEPARTMENT MAINTAINS A RECOVERY FUND TO MAKE PAYMENTS OF CERTAIN ACTUAL OUT OF POCKET
DAMAGES SUSTAINED BY BORROWERS CAUSED BY ACTS OF LICENSED RESIDENTIAL MORTGAGE LOAN ORIGINATORS.
A WRITTEN APPLICATION FOR REIMBURSEMENT FROM THE RECOVERY FUND MUST BE FILED WITH AND INVESTIGATED
BY THE DEPARTMENT PRIOR TO THE PAYMENT OF A CLAIM. FOR MORE INFORMATION ABOUT THE RECOVERY FUND,
PLEASE CONSULT THE DEPARTMENT’S WEB SITE AT WWW.SML.TEXAS.GOV.
Texas
Atención Residentes de Texas:
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CAPÍTULO 157, CÓDIGO DE FINANZAS DE TEXAS, LE INFORMAMOS DE LO SIGUIENTE:
EL DEPARTAMENTO MANTIENE UN FONDO DE RECUPERACIÓN PARA REALIZAR LOS PAGOS DE CIERTOS DAÑOS REAL DE
BOLSILLO SOSTENIDOS POR LOS PRESTATARIOS CAUSADOS POR ACTOS DE UN ORIGINADOR LICENCIADO DE
PRÉSTAMOS HIPOTECARIOS RESIDENCIALES. UNA SOLICITUD ESCRITA PARA REEMBOLSO DEL FONDO DE
RECUPERACIÓN NECESITA SER PRESENTADA E INVESTIGADA POR EL DEPARTAMENTO ANTES DEL PAGO DE UNA
RECLAMACIÓN. PARA OBTENER MÁS INFORMACIÓN SOBRE EL FONDO DE RECUPERACIÓN, CONSULTE AL SITIO WEB
DEL DEPARTAMENTO EN WWW.SML.TEXAS.GOV.




                                                                                             PBM7E000200236 I001180 S-SFRECS20 L-1100-TX-C A
Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 10 of 33
                 Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 11 of 33
P.O. BOX 51850
LIVONIA MI 48151-5850
RETURN SERVICE REQUESTED                                                 USPS CERTIFIED MAILTM




 FDTFAFDDDDFFFDFFTADAFTFAAAFTATTTTTAATDADFTDDFADADTTADFFDTTFFTTFDT    ÍÊ|.yeÂfJY.Ä'MÎ
 S-SFRECS20 L-1100-TX-C R-205                                        9214 8969 0070 4257 1496 07
 PBM7E000200235 - 612359310 I01172
 KENNETH R KING SR.
 2574 OLD BOONE PRAIRIE RD
 FRANKLIN TX 77856-5218




                                                                                                   00235010340400
                   Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 12 of 33



                                                             ~
                                                                                                                                           -
      P.O. BOX 51850
      LIVONIA MI 48151-5850                                                                   Phone Number: 866-825-2174                   ~
      RETURN SERVICE REQUESTED                                                                Fax: 866-467-1187
                                                                                              Email: Lossmitigation@shellpointmtg.com
      FDTFAFDDDDFFFDFFTADAFTFAAAFTATTTTTAATDADFTDDFADADTTADFFDTTFFTTFDT                       Mon - Thurs: 8:00AM-10:00PM
                                                                                              Fri: 8:00AM-10:00PM
      S-SFRECS20 L-1100-TX-C R-205
      PBM7E000200235 - 612359310 I01173
      KENNETH R KING SR.                                                       Loan Number:
      2574 OLD BOONE PRAIRIE RD                                                Principal Balance: $78,998.22
      FRANKLIN TX 77856-5218

                                                                                                                              02/13/2020




                                             NOTICE OF DEFAULT AND INTENT TO ACCELERATE


RE:         Deed of Trust/Mortgage Dated: 03/29/2004
            Loan #:
            Property: 2574 Old Boone Prairie Rd
                      Franklin, TX 77856

Dear Kenneth R King Sr.:

Shellpoint Mortgage Servicing, (“Shellpoint”), as the mortgage servicer for MTGLQ Investors, L.P., the creditor and holder of your
mortgage promissory note (your “Loan”), and in accordance with your Deed of Trust/Mortgage and applicable state laws, provides
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To cure this default, you must pay all amounts due under the terms of your Loan. As of 02/13/2020, the total amount necessary to
bring your Loan current is $75,666.46. After today’s date please contact our office at 866-825-2174 as interest, payments, credits,
fees and/or other permissible charges can continue to cause your account balance to vary from day to day. Payment must be in the
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Property Code 51.0025. The mortgage servicer is authorized to collect the debt and to administer any resulting foreclosure of the
property securing the referenced loan.

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avoid losing their homes. To obtain a list of approved counseling agencies, please call (800) 569-4287.

This matter is very important. Please give it your immediate attention.

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866-825-2174.
                 SEE REVERSE SIDE OR ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS.
                                                                                                                P I000002 A             020330000
Sincerely,    Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 13 of 33
Shellpoint Mortgage Servicing
866-825-2174

Attention Servicemembers and Dependents: A debtor who is serving on active military duty may have special rights or relief
related to this notice under federal law, including the Servicemembers Civil Relief Act (50 U.S.C. app Section 501 et seq) and state
law, including Section 51.015, Texas Property Code.

Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse is serving on
active military duty, including active military duty as a member of the Texas National Guard or the National Guard of
another state or as a member of a reserve component of the armed forces of the United States, please send written notice of
the active duty military service to the sender of this notice immediately.

COMPLAINTS REGARDING THE SERVICING OF YOUR MORTGAGE SHOULD BE SENT TO THE DEPARTMENT OF
SAVINGS AND MORTGAGE LENDING, 2601 N. Lamar, Suite 201 Austin, TX 78705. A TOLL-FREE CONSUMER HOTLINE
IS AVAILABLE AT (877) 276-5550.

LAS QUEJAS RELACIONADAS CON SUS SERVICIOS HIPOTECARIOS DEBEN SER ENVIADAS AL DEPARTAMENTO DE
AHORROS Y PRÉSTAMOS HIPOTECARIOS, 2601 N. Lamar, Suite 201 Austin, TX 78705. HAY A SU DISPOSICIÓN UNA
LÍNEA DE ATENCIÓN AL CLIENTE CON EL NÚMERO (877) 276-5550.
                    Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 14 of 33
                              Please read the following important notices as they may affect your rights.
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be used for that purpose. NewRez LLC dba Shellpoint Mortgage Servicing’s NMLS ID is 3013.
If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice
is to advise you of the status of your mortgage loan. This notice constitutes neither a demand for payment nor a notice of personal liability
to any recipient hereof, who might have received a discharge of such debt in accordance with applicable bankruptcy laws or who might be
subject to the automatic stay of Section 362 of the United States Bankruptcy Code. However, it may be a notice of possible enforcement of
the lien against the collateral property, which has not been discharged in your bankruptcy.
Attention Servicemembers and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide
important protections for you, including interest rate protections and prohibiting foreclosure under most circumstances during
and twelve months after the servicemember’s military or other service. Counseling for covered servicemembers is available from
Military OneSource (800-342-9647) and the United States Armed Forces Legal Assistance or other similar agencies. For more
information, please visit the Military OneSource website www.militaryonesource.mil/.
Notice of Error or Information Request Address: You have certain rights under Federal law related to resolving errors in the servicing
of your loan and requesting information about your loan. If you want to request information about your loan or if you believe an error has
occurred in the servicing of your loan and would like to submit an Error Resolution or Informational Request, please write to us at the
following address: Shellpoint Mortgage Servicing P.O. Box 10826 Greenville, SC 29603-0826
A successor in interest is someone who acquires an ownership interest in a property secured by a mortgage loan by transfer upon the death of a
relative, as a result of a divorce or legal separation, through certain trusts, between spouses, from a parent to a child, or when a borrower who
is a joint tenant or tenant by the entirety dies. If you are a successor in interest, or you think you might be, please contact by phone, mail or
email to start the confirmation process.
Our system of record has your preferred language as English.
If you prefer to receive communication in a language other than English, please contact us at 866-825-2174 to speak with a translator
in your preferred language about the servicing of your loan or a document you received.
Si prefiere recibir las comunicaciones en otro idioma que no sea el inglés, por favor, contáctenos en el 866-825-2174 para hablar con un
traductor en el idioma de su preferencia sobre la gestión de su préstamo o cualquier documento que haya recibido.
in:¥tillitffl~il~*~;lt.ftl!ila:i!tr3'frnt, •!tit! 866-825-2174, ftffl~ilfitiltil~ilj§f~jtffl
J$l~• M, ~titt1J:aBll4$;qff!fltfi»T~t&~Jt #:i!trfflii-t                               o

Please note that we operate as NewRez Mortgage LLC dba Shellpoint Mortgage Servicing in Arkansas and Texas.
Texas
Attention Texas Residents:
PURSUANT TO THE REQUIREMENTS OF SECTION 157.007 OF THE TEXAS MORTGAGE BANKER ACT, CHAPTER 157, TEXAS
FINANCE CODE, YOU ARE HEREBY NOTIFIED OF THE FOLLOWING:
THE DEPARTMENT MAINTAINS A RECOVERY FUND TO MAKE PAYMENTS OF CERTAIN ACTUAL OUT OF POCKET
DAMAGES SUSTAINED BY BORROWERS CAUSED BY ACTS OF LICENSED RESIDENTIAL MORTGAGE LOAN ORIGINATORS.
A WRITTEN APPLICATION FOR REIMBURSEMENT FROM THE RECOVERY FUND MUST BE FILED WITH AND INVESTIGATED
BY THE DEPARTMENT PRIOR TO THE PAYMENT OF A CLAIM. FOR MORE INFORMATION ABOUT THE RECOVERY FUND,
PLEASE CONSULT THE DEPARTMENT’S WEB SITE AT WWW.SML.TEXAS.GOV.
Texas
Atención Residentes de Texas:
DE CONFORMIDAD CON LOS REQUISITOS DE LA SECCIÓN 157.007 DE LA LEY HIPOTECARIA DE BANQUERO DE TEXAS,
CAPÍTULO 157, CÓDIGO DE FINANZAS DE TEXAS, LE INFORMAMOS DE LO SIGUIENTE:
EL DEPARTAMENTO MANTIENE UN FONDO DE RECUPERACIÓN PARA REALIZAR LOS PAGOS DE CIERTOS DAÑOS REAL DE
BOLSILLO SOSTENIDOS POR LOS PRESTATARIOS CAUSADOS POR ACTOS DE UN ORIGINADOR LICENCIADO DE
PRÉSTAMOS HIPOTECARIOS RESIDENCIALES. UNA SOLICITUD ESCRITA PARA REEMBOLSO DEL FONDO DE
RECUPERACIÓN NECESITA SER PRESENTADA E INVESTIGADA POR EL DEPARTAMENTO ANTES DEL PAGO DE UNA
RECLAMACIÓN. PARA OBTENER MÁS INFORMACIÓN SOBRE EL FONDO DE RECUPERACIÓN, CONSULTE AL SITIO WEB
DEL DEPARTAMENTO EN WWW.SML.TEXAS.GOV.




                                                                                             PBM7E000200235 I001175 S-SFRECS20 L-1100-TX-C A-
Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 15 of 33
                 Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 16 of 33
P.O. BOX 51850
LIVONIA MI 48151-5850
RETURN SERVICE REQUESTED                                                 USPS CERTIFIED MAILTM
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 DFFDFATDFTADTDFTTTTFTAAAFTTFFADTDDADDFDADDTATFADFDDTTFTATTATDDFAT    ÍÊ|.yeÂfJY.Ã{,Î
 S-SFRECS20 L-1100-TX-C R-205                                        9214 8969 0070 4257 1495 91
 PBM7E000200233 - 612359308 I01162
 KENNETH R KING SR.
 102 E. MORGAN ST.
 PO BOX 1329
 FRANKLIN TX 77856-1329




                                                                                                   002330103A0400
                   Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 17 of 33

      P.O. BOX 51850
      LIVONIA MI 48151-5850                                                                   Phone Number: 866-825-2174
      RETURN SERVICE REQUESTED                                                                Fax: 866-467-1187
                                                                                              Email: Lossmitigation@shellpointmtg.com
      DFFDFATDFTADTDFTTTTFTAAAFTTFFADTDDADDFDADDTATFADFDDTTFTATTATDDFAT                       Mon - Thurs: 8:00AM-10:00PM
                                                                                              Fri: 8:00AM-10:00PM
      S-SFRECS20 L-1100-TX-C R-205
      PBM7E000200233 - 612359308 I01163
      KENNETH R KING SR.                                                       Loan Number:
      102 E. MORGAN ST.                                                        Principal Balance: $78,998.22
      PO BOX 1329
      FRANKLIN TX 77856-1329
                                                                                                                             02/13/2020




                                             NOTICE OF DEFAULT AND INTENT TO ACCELERATE


RE:         Deed of Trust/Mortgage Dated: 03/29/2004
            Loan #:
            Property: 2574 Old Boone Prairie Rd
                      Franklin, TX 77856

Dear Kenneth R King Sr.:

Shellpoint Mortgage Servicing, (“Shellpoint”), as the mortgage servicer for MTGLQ Investors, L.P., the creditor and holder of your
mortgage promissory note (your “Loan”), and in accordance with your Deed of Trust/Mortgage and applicable state laws, provides
you with formal notice of the following:

The Loan associated with the referenced Deed of Trust/Mortgage is in default for failure to pay amounts due.

To cure this default, you must pay all amounts due under the terms of your Loan. As of 02/13/2020, the total amount necessary to
bring your Loan current is $75,666.46. After today’s date please contact our office at 866-825-2174 as interest, payments, credits,
fees and/or other permissible charges can continue to cause your account balance to vary from day to day. Payment must be in the
form of cashier’s check, money order, or bank certified funds.

If you have not cured the default within forty-five (45) days of this notice, Shellpoint will accelerate the maturity date of the
Loan and declare all outstanding amounts under the Loan immediately due and payable.

You may have the right to reinstate your Loan after acceleration and the right to bring a court action to claim that your Loan is not
in default or any other defense to acceleration and sale that you may have. This notice remains in effect until the default is cured.

Upon acceleration of your Loan, Shellpoint will refer the property that is collateral for the Loan for foreclosure in accordance with
the terms of the Deed of Trust/Mortgage and applicable state laws.

Shellpoint is acting as the mortgage servicer for MTGLQ Investors, L.P., who is the mortgagee of the Note and Deed of Trust
associated with your real estate loan. Shellpoint, as mortgage servicer, is representing the mortgagee, whose address is 200 West St.,
New York NY 10282. The mortgage servicer is authorized to represent the mortgagee by virtue of a servicing agreement and Texas
Property Code 51.0025. The mortgage servicer is authorized to collect the debt and to administer any resulting foreclosure of the
property securing the referenced loan.

For your benefit and assistance, there are government approved homeownership counseling agencies designed to help homeowners
avoid losing their homes. To obtain a list of approved counseling agencies, please call (800) 569-4287.

This matter is very important. Please give it your immediate attention.

Si usted no entiende el contenido de esta carta, por favor contacte a uno de nuestros representantes que hablan español al número
866-825-2174.
                 SEE REVERSE SIDE OR ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS
                                                                                                                                        020330000
Sincerely,    Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 18 of 33
Shellpoint Mortgage Servicing
866-825-2174

Attention Servicemembers and Dependents: A debtor who is serving on active military duty may have special rights or relief
related to this notice under federal law, including the Servicemembers Civil Relief Act (50 U.S.C. app Section 501 et seq) and state
law, including Section 51.015, Texas Property Code.

Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse is serving on
active military duty, including active military duty as a member of the Texas National Guard or the National Guard of
another state or as a member of a reserve component of the armed forces of the United States, please send written notice of
the active duty military service to the sender of this notice immediately.

COMPLAINTS REGARDING THE SERVICING OF YOUR MORTGAGE SHOULD BE SENT TO THE DEPARTMENT OF
SAVINGS AND MORTGAGE LENDING, 2601 N. Lamar, Suite 201 Austin, TX 78705. A TOLL-FREE CONSUMER HOTLINE
IS AVAILABLE AT (877) 276-5550.

LAS QUEJAS RELACIONADAS CON SUS SERVICIOS HIPOTECARIOS DEBEN SER ENVIADAS AL DEPARTAMENTO DE
AHORROS Y PRÉSTAMOS HIPOTECARIOS, 2601 N. Lamar, Suite 201 Austin, TX 78705. HAY A SU DISPOSICIÓN UNA
LÍNEA DE ATENCIÓN AL CLIENTE CON EL NÚMERO (877) 276-5550.
                    Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 19 of 33
                              Please read the following important notices as they may affect your rights.
NewRez LLC dba Shellpoint Mortgage Servicing is a debt collector. This is an attempt to collect a debt and any information obtained will
be used for that purpose. NewRez LLC dba Shellpoint Mortgage Servicing’s NMLS ID is 3013.
If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice
is to advise you of the status of your mortgage loan. This notice constitutes neither a demand for payment nor a notice of personal liability
to any recipient hereof, who might have received a discharge of such debt in accordance with applicable bankruptcy laws or who might be
subject to the automatic stay of Section 362 of the United States Bankruptcy Code. However, it may be a notice of possible enforcement of
the lien against the collateral property, which has not been discharged in your bankruptcy.
Attention Servicemembers and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide
important protections for you, including interest rate protections and prohibiting foreclosure under most circumstances during
and twelve months after the servicemember’s military or other service. Counseling for covered servicemembers is available from
Military OneSource (800-342-9647) and the United States Armed Forces Legal Assistance or other similar agencies. For more
information, please visit the Military OneSource website www.militaryonesource.mil/.
Notice of Error or Information Request Address: You have certain rights under Federal law related to resolving errors in the servicing
of your loan and requesting information about your loan. If you want to request information about your loan or if you believe an error has
occurred in the servicing of your loan and would like to submit an Error Resolution or Informational Request, please write to us at the
following address: Shellpoint Mortgage Servicing P.O. Box 10826 Greenville, SC 29603-0826
A successor in interest is someone who acquires an ownership interest in a property secured by a mortgage loan by transfer upon the death of a
relative, as a result of a divorce or legal separation, through certain trusts, between spouses, from a parent to a child, or when a borrower who
is a joint tenant or tenant by the entirety dies. If you are a successor in interest, or you think you might be, please contact by phone, mail or
email to start the confirmation process.
Our system of record has your preferred language as English.
If you prefer to receive communication in a language other than English, please contact us at 866-825-2174 to speak with a translator
in your preferred language about the servicing of your loan or a document you received.
Si prefiere recibir las comunicaciones en otro idioma que no sea el inglés, por favor, contáctenos en el 866-825-2174 para hablar con un
traductor en el idioma de su preferencia sobre la gestión de su préstamo o cualquier documento que haya recibido.
in:¥tillitffl~il~*~;lt.ftl!ila:i!tr3'frnt, •!tit! 866-825-2174, ftffl~ilfitiltil~ilj§f~jtffl
J$l~• M, ~titt1J:aBll4$;qff!fltfi»T~t&~Jt #:i!trfflii-t                               o

Please note that we operate as NewRez Mortgage LLC dba Shellpoint Mortgage Servicing in Arkansas and Texas.
Texas
Attention Texas Residents:
PURSUANT TO THE REQUIREMENTS OF SECTION 157.007 OF THE TEXAS MORTGAGE BANKER ACT, CHAPTER 157, TEXAS
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THE DEPARTMENT MAINTAINS A RECOVERY FUND TO MAKE PAYMENTS OF CERTAIN ACTUAL OUT OF POCKET
DAMAGES SUSTAINED BY BORROWERS CAUSED BY ACTS OF LICENSED RESIDENTIAL MORTGAGE LOAN ORIGINATORS.
A WRITTEN APPLICATION FOR REIMBURSEMENT FROM THE RECOVERY FUND MUST BE FILED WITH AND INVESTIGATED
BY THE DEPARTMENT PRIOR TO THE PAYMENT OF A CLAIM. FOR MORE INFORMATION ABOUT THE RECOVERY FUND,
PLEASE CONSULT THE DEPARTMENT’S WEB SITE AT WWW.SML.TEXAS.GOV.
Texas
Atención Residentes de Texas:
DE CONFORMIDAD CON LOS REQUISITOS DE LA SECCIÓN 157.007 DE LA LEY HIPOTECARIA DE BANQUERO DE TEXAS,
CAPÍTULO 157, CÓDIGO DE FINANZAS DE TEXAS, LE INFORMAMOS DE LO SIGUIENTE:
EL DEPARTAMENTO MANTIENE UN FONDO DE RECUPERACIÓN PARA REALIZAR LOS PAGOS DE CIERTOS DAÑOS REAL DE
BOLSILLO SOSTENIDOS POR LOS PRESTATARIOS CAUSADOS POR ACTOS DE UN ORIGINADOR LICENCIADO DE
PRÉSTAMOS HIPOTECARIOS RESIDENCIALES. UNA SOLICITUD ESCRITA PARA REEMBOLSO DEL FONDO DE
RECUPERACIÓN NECESITA SER PRESENTADA E INVESTIGADA POR EL DEPARTAMENTO ANTES DEL PAGO DE UNA
RECLAMACIÓN. PARA OBTENER MÁS INFORMACIÓN SOBRE EL FONDO DE RECUPERACIÓN, CONSULTE AL SITIO WEB
DEL DEPARTAMENTO EN WWW.SML.TEXAS.GOV.




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Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 20 of 33
                 Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 21 of 33
P.O. BOX 51850
LIVONIA MI 48151-5850
                                                                         USPS CERTIFIED MAILTM


                                                                                                        -
RETURN SERVICE REQUESTED
                                                                                                        rt~


 FDTTADDADTFADDDAAAAAAFFFTTATTAATFAFATADDFDDDDTFFDDADAFDFAFFTTDTTA    ÍÊ|.yeÂfJY.Ä.:Î
 S-SFRECS20 L-1100-TX-C R-205                                        9214 8969 0070 4257 1496 14
 PBM7E000200234 - 612359309 I01167
 LAURA KING
 102 E. MORGAN ST.
 PO BOX 1329
 FRANKLIN TX 77856-1329




                                                                                                   002340103S0400
                   Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 22 of 33

      P.O. BOX 51850
      LIVONIA MI 48151-5850                                                                   Phone Number: 866-825-2174                  ~
      RETURN SERVICE REQUESTED                                                                Fax: 866-467-1187
                                                                                              Email: Lossmitigation@shellpointmtg.com
                                                                                                                                          ~
      FDTTADDADTFADDDAAAAAAFFFTTATTAATFAFATADDFDDDDTFFDDADAFDFAFFTTDTTA                       Mon - Thurs: 8:00AM-10:00PM
                                                                                              Fri: 8:00AM-10:00PM
      S-SFRECS20 L-1100-TX-C R-205
      PBM7E000200234 - 612359309 I01168
      LAURA KING                                                               Loan Number:
      102 E. MORGAN ST.                                                        Principal Balance: $78,998.22
      PO BOX 1329
      FRANKLIN TX 77856-1329
                                                                                                                             02/13/2020




                                             NOTICE OF DEFAULT AND INTENT TO ACCELERATE


RE:         Deed of Trust/Mortgage Dated: 03/29/2004
            Loan #:
            Property: 2574 Old Boone Prairie Rd
                      Franklin, TX 77856

Dear Laura King:

Shellpoint Mortgage Servicing, (“Shellpoint”), as the mortgage servicer for MTGLQ Investors, L.P., the creditor and holder of your
mortgage promissory note (your “Loan”), and in accordance with your Deed of Trust/Mortgage and applicable state laws, provides
you with formal notice of the following:

The Loan associated with the referenced Deed of Trust/Mortgage is in default for failure to pay amounts due.

To cure this default, you must pay all amounts due under the terms of your Loan. As of 02/13/2020, the total amount necessary to
bring your Loan current is $75,666.46. After today’s date please contact our office at 866-825-2174 as interest, payments, credits,
fees and/or other permissible charges can continue to cause your account balance to vary from day to day. Payment must be in the
form of cashier’s check, money order, or bank certified funds.

If you have not cured the default within forty-five (45) days of this notice, Shellpoint will accelerate the maturity date of the
Loan and declare all outstanding amounts under the Loan immediately due and payable.

You may have the right to reinstate your Loan after acceleration and the right to bring a court action to claim that your Loan is not
in default or any other defense to acceleration and sale that you may have. This notice remains in effect until the default is cured.

Upon acceleration of your Loan, Shellpoint will refer the property that is collateral for the Loan for foreclosure in accordance with
the terms of the Deed of Trust/Mortgage and applicable state laws.

Shellpoint is acting as the mortgage servicer for MTGLQ Investors, L.P., who is the mortgagee of the Note and Deed of Trust
associated with your real estate loan. Shellpoint, as mortgage servicer, is representing the mortgagee, whose address is 200 West St.,
New York NY 10282. The mortgage servicer is authorized to represent the mortgagee by virtue of a servicing agreement and Texas
Property Code 51.0025. The mortgage servicer is authorized to collect the debt and to administer any resulting foreclosure of the
property securing the referenced loan.

For your benefit and assistance, there are government approved homeownership counseling agencies designed to help homeowners
avoid losing their homes. To obtain a list of approved counseling agencies, please call (800) 569-4287.

This matter is very important. Please give it your immediate attention.

Si usted no entiende el contenido de esta carta, por favor contacte a uno de nuestros representantes que hablan español al número
866-825-2174.
                 SEE REVERSE SIDE OR ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS.
                                                                                                                P I000002               20330000
Sincerely,    Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 23 of 33
Shellpoint Mortgage Servicing
866-825-2174

Attention Servicemembers and Dependents: A debtor who is serving on active military duty may have special rights or relief
related to this notice under federal law, including the Servicemembers Civil Relief Act (50 U.S.C. app Section 501 et seq) and state
law, including Section 51.015, Texas Property Code.

Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse is serving on
active military duty, including active military duty as a member of the Texas National Guard or the National Guard of
another state or as a member of a reserve component of the armed forces of the United States, please send written notice of
the active duty military service to the sender of this notice immediately.

COMPLAINTS REGARDING THE SERVICING OF YOUR MORTGAGE SHOULD BE SENT TO THE DEPARTMENT OF
SAVINGS AND MORTGAGE LENDING, 2601 N. Lamar, Suite 201 Austin, TX 78705. A TOLL-FREE CONSUMER HOTLINE
IS AVAILABLE AT (877) 276-5550.

LAS QUEJAS RELACIONADAS CON SUS SERVICIOS HIPOTECARIOS DEBEN SER ENVIADAS AL DEPARTAMENTO DE
AHORROS Y PRÉSTAMOS HIPOTECARIOS, 2601 N. Lamar, Suite 201 Austin, TX 78705. HAY A SU DISPOSICIÓN UNA
LÍNEA DE ATENCIÓN AL CLIENTE CON EL NÚMERO (877) 276-5550.
                    Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 24 of 33
                              Please read the following important notices as they may affect your rights.
NewRez LLC dba Shellpoint Mortgage Servicing is a debt collector. This is an attempt to collect a debt and any information obtained will
be used for that purpose. NewRez LLC dba Shellpoint Mortgage Servicing’s NMLS ID is 3013.                                                rt~
If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice      E
is to advise you of the status of your mortgage loan. This notice constitutes neither a demand for payment nor a notice of personal liability
to any recipient hereof, who might have received a discharge of such debt in accordance with applicable bankruptcy laws or who might be
subject to the automatic stay of Section 362 of the United States Bankruptcy Code. However, it may be a notice of possible enforcement of
the lien against the collateral property, which has not been discharged in your bankruptcy.
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and twelve months after the servicemember’s military or other service. Counseling for covered servicemembers is available from
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information, please visit the Military OneSource website www.militaryonesource.mil/.
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of your loan and requesting information about your loan. If you want to request information about your loan or if you believe an error has
occurred in the servicing of your loan and would like to submit an Error Resolution or Informational Request, please write to us at the
following address: Shellpoint Mortgage Servicing P.O. Box 10826 Greenville, SC 29603-0826
A successor in interest is someone who acquires an ownership interest in a property secured by a mortgage loan by transfer upon the death of a
relative, as a result of a divorce or legal separation, through certain trusts, between spouses, from a parent to a child, or when a borrower who
is a joint tenant or tenant by the entirety dies. If you are a successor in interest, or you think you might be, please contact by phone, mail or
email to start the confirmation process.
Our system of record has your preferred language as English.
If you prefer to receive communication in a language other than English, please contact us at 866-825-2174 to speak with a translator
in your preferred language about the servicing of your loan or a document you received.
Si prefiere recibir las comunicaciones en otro idioma que no sea el inglés, por favor, contáctenos en el 866-825-2174 para hablar con un
traductor en el idioma de su preferencia sobre la gestión de su préstamo o cualquier documento que haya recibido.
in:¥tillitffl~il~*~;lt.ftl!ila:i!tr3'frnt, •!tit! 866-825-2174, ftffl~ilfitiltil~ilj§f~jtffl
J$l~• M, ~titt1J:aBll4$;qff!fltfi»T~t&~Jt #:i!trfflii-t                               o

Please note that we operate as NewRez Mortgage LLC dba Shellpoint Mortgage Servicing in Arkansas and Texas.
Texas
Attention Texas Residents:
PURSUANT TO THE REQUIREMENTS OF SECTION 157.007 OF THE TEXAS MORTGAGE BANKER ACT, CHAPTER 157, TEXAS
FINANCE CODE, YOU ARE HEREBY NOTIFIED OF THE FOLLOWING:
THE DEPARTMENT MAINTAINS A RECOVERY FUND TO MAKE PAYMENTS OF CERTAIN ACTUAL OUT OF POCKET
DAMAGES SUSTAINED BY BORROWERS CAUSED BY ACTS OF LICENSED RESIDENTIAL MORTGAGE LOAN ORIGINATORS.
A WRITTEN APPLICATION FOR REIMBURSEMENT FROM THE RECOVERY FUND MUST BE FILED WITH AND INVESTIGATED
BY THE DEPARTMENT PRIOR TO THE PAYMENT OF A CLAIM. FOR MORE INFORMATION ABOUT THE RECOVERY FUND,
PLEASE CONSULT THE DEPARTMENT’S WEB SITE AT WWW.SML.TEXAS.GOV.
Texas
Atención Residentes de Texas:
DE CONFORMIDAD CON LOS REQUISITOS DE LA SECCIÓN 157.007 DE LA LEY HIPOTECARIA DE BANQUERO DE TEXAS,
CAPÍTULO 157, CÓDIGO DE FINANZAS DE TEXAS, LE INFORMAMOS DE LO SIGUIENTE:
EL DEPARTAMENTO MANTIENE UN FONDO DE RECUPERACIÓN PARA REALIZAR LOS PAGOS DE CIERTOS DAÑOS REAL DE
BOLSILLO SOSTENIDOS POR LOS PRESTATARIOS CAUSADOS POR ACTOS DE UN ORIGINADOR LICENCIADO DE
PRÉSTAMOS HIPOTECARIOS RESIDENCIALES. UNA SOLICITUD ESCRITA PARA REEMBOLSO DEL FONDO DE
RECUPERACIÓN NECESITA SER PRESENTADA E INVESTIGADA POR EL DEPARTAMENTO ANTES DEL PAGO DE UNA
RECLAMACIÓN. PARA OBTENER MÁS INFORMACIÓN SOBRE EL FONDO DE RECUPERACIÓN, CONSULTE AL SITIO WEB
DEL DEPARTAMENTO EN WWW.SML.TEXAS.GOV.




                                                                                             PBM7E000200234 I001170 S-SFRECS20 L-1100-TX-C A-
Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 25 of 33
                   Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 26 of 33

      P.O. BOX 51850
      LIVONIA MI 48151-5850                                                                   Phone Number: 866-825-2174
      RETURN SERVICE REQUESTED                                                                Fax: 866-467-1187
                                                                                              Email: Lossmitigation@shellpointmtg.com
      TTFAADADTADDDAFTDDFFFTATAFDAFAFFTTAAFTFFTTTTFDFAAATTDDFFDDTDFFFDA                       Mon - Thurs: 8:00AM-10:00PM
                                                                                              Fri: 8:00AM-10:00PM
      S-SFRECS20 L-1100-TX R-205
      PBM7DH00200239 - 612330733 I00954
      LAURA KING                                                               Loan Number:
      102 E. MORGAN ST.                                                        Principal Balance: $78,998.22
      PO BOX 1329
      FRANKLIN TX 77856-1329
                                                                                                                             02/13/2020




                                             NOTICE OF DEFAULT AND INTENT TO ACCELERATE


RE:         Deed of Trust/Mortgage Dated: 03/29/2004
            Loan #:
            Property: 2574 Old Boone Prairie Rd
                      Franklin, TX 77856

Dear Laura King:

Shellpoint Mortgage Servicing, (“Shellpoint”), as the mortgage servicer for MTGLQ Investors, L.P., the creditor and holder of your
mortgage promissory note (your “Loan”), and in accordance with your Deed of Trust/Mortgage and applicable state laws, provides
you with formal notice of the following:

The Loan associated with the referenced Deed of Trust/Mortgage is in default for failure to pay amounts due.

To cure this default, you must pay all amounts due under the terms of your Loan. As of 02/13/2020, the total amount necessary to
bring your Loan current is $75,666.46. After today’s date please contact our office at 866-825-2174 as interest, payments, credits,
fees and/or other permissible charges can continue to cause your account balance to vary from day to day. Payment must be in the
form of cashier’s check, money order, or bank certified funds.

If you have not cured the default within forty-five (45) days of this notice, Shellpoint will accelerate the maturity date of the
Loan and declare all outstanding amounts under the Loan immediately due and payable.

You may have the right to reinstate your Loan after acceleration and the right to bring a court action to claim that your Loan is not
in default or any other defense to acceleration and sale that you may have. This notice remains in effect until the default is cured.

Upon acceleration of your Loan, Shellpoint will refer the property that is collateral for the Loan for foreclosure in accordance with
the terms of the Deed of Trust/Mortgage and applicable state laws.

Shellpoint is acting as the mortgage servicer for MTGLQ Investors, L.P., who is the mortgagee of the Note and Deed of Trust
associated with your real estate loan. Shellpoint, as mortgage servicer, is representing the mortgagee, whose address is 200 West St.,
New York NY 10282. The mortgage servicer is authorized to represent the mortgagee by virtue of a servicing agreement and Texas
Property Code 51.0025. The mortgage servicer is authorized to collect the debt and to administer any resulting foreclosure of the
property securing the referenced loan.

For your benefit and assistance, there are government approved homeownership counseling agencies designed to help homeowners
avoid losing their homes. To obtain a list of approved counseling agencies, please call (800) 569-4287.

This matter is very important. Please give it your immediate attention.

Si usted no entiende el contenido de esta carta, por favor contacte a uno de nuestros representantes que hablan español al número
866-825-2174.
                 SEE REVERSE SIDE OR ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS
                                                                                                                                        0102J0400
Sincerely,    Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 27 of 33
Shellpoint Mortgage Servicing
866-825-2174

Attention Servicemembers and Dependents: A debtor who is serving on active military duty may have special rights or relief
related to this notice under federal law, including the Servicemembers Civil Relief Act (50 U.S.C. app Section 501 et seq) and state
law, including Section 51.015, Texas Property Code.

Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse is serving on
active military duty, including active military duty as a member of the Texas National Guard or the National Guard of
another state or as a member of a reserve component of the armed forces of the United States, please send written notice of
the active duty military service to the sender of this notice immediately.

COMPLAINTS REGARDING THE SERVICING OF YOUR MORTGAGE SHOULD BE SENT TO THE DEPARTMENT OF
SAVINGS AND MORTGAGE LENDING, 2601 N. Lamar, Suite 201 Austin, TX 78705. A TOLL-FREE CONSUMER HOTLINE
IS AVAILABLE AT (877) 276-5550.

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                    Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 28 of 33
                              Please read the following important notices as they may affect your rights.
NewRez LLC dba Shellpoint Mortgage Servicing is a debt collector. This is an attempt to collect a debt and any information obtained will
be used for that purpose. NewRez LLC dba Shellpoint Mortgage Servicing’s NMLS ID is 3013.
If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice
is to advise you of the status of your mortgage loan. This notice constitutes neither a demand for payment nor a notice of personal liability
to any recipient hereof, who might have received a discharge of such debt in accordance with applicable bankruptcy laws or who might be
subject to the automatic stay of Section 362 of the United States Bankruptcy Code. However, it may be a notice of possible enforcement of
the lien against the collateral property, which has not been discharged in your bankruptcy.
Attention Servicemembers and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide
important protections for you, including interest rate protections and prohibiting foreclosure under most circumstances during
and twelve months after the servicemember’s military or other service. Counseling for covered servicemembers is available from
Military OneSource (800-342-9647) and the United States Armed Forces Legal Assistance or other similar agencies. For more
information, please visit the Military OneSource website www.militaryonesource.mil/.
Notice of Error or Information Request Address: You have certain rights under Federal law related to resolving errors in the servicing
of your loan and requesting information about your loan. If you want to request information about your loan or if you believe an error has
occurred in the servicing of your loan and would like to submit an Error Resolution or Informational Request, please write to us at the
following address: Shellpoint Mortgage Servicing P.O. Box 10826 Greenville, SC 29603-0826
A successor in interest is someone who acquires an ownership interest in a property secured by a mortgage loan by transfer upon the death of a
relative, as a result of a divorce or legal separation, through certain trusts, between spouses, from a parent to a child, or when a borrower who
is a joint tenant or tenant by the entirety dies. If you are a successor in interest, or you think you might be, please contact by phone, mail or
email to start the confirmation process.
Our system of record has your preferred language as English.
If you prefer to receive communication in a language other than English, please contact us at 866-825-2174 to speak with a translator
in your preferred language about the servicing of your loan or a document you received.
Si prefiere recibir las comunicaciones en otro idioma que no sea el inglés, por favor, contáctenos en el 866-825-2174 para hablar con un
traductor en el idioma de su preferencia sobre la gestión de su préstamo o cualquier documento que haya recibido.
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Please note that we operate as NewRez Mortgage LLC dba Shellpoint Mortgage Servicing in Arkansas and Texas.
Texas
Attention Texas Residents:
PURSUANT TO THE REQUIREMENTS OF SECTION 157.007 OF THE TEXAS MORTGAGE BANKER ACT, CHAPTER 157, TEXAS
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COMPLAINTS REGARDING A LICENSED RESIDENTIAL MORTGAGE LOAN ORIGINATOR SHOULD BE SENT TO THE TEXAS
DEPARTMENT OF SAVINGS AND MORTGAGE LENDING, 2601 NORTH LAMAR, SUITE 201, AUSTIN, TEXAS 78705. A
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DAMAGES SUSTAINED BY BORROWERS CAUSED BY ACTS OF LICENSED RESIDENTIAL MORTGAGE LOAN ORIGINATORS.
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BY THE DEPARTMENT PRIOR TO THE PAYMENT OF A CLAIM. FOR MORE INFORMATION ABOUT THE RECOVERY FUND,
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Texas
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CAPÍTULO 157, CÓDIGO DE FINANZAS DE TEXAS, LE INFORMAMOS DE LO SIGUIENTE:
QUEJAS ACERCA DE UN ORIGINADOR LICENCIADO DE PRÉSTAMOS HIPOTECARIOS RESIDENCIALES DEBEN ENVIARSE
AL TEXAS DEPARTMENT OF SAVINGS AND MORTGAGE LENDING, 2601 NORTH LAMAR, SUITE 201, AUSTIN, TEXAS 78705.
UNA LÍNEA TELEFÓNICA AL CONSUMIDOR GRATUITA ESTÁ DISPONIBLE EN 1-877-276-5550.
EL DEPARTAMENTO MANTIENE UN FONDO DE RECUPERACIÓN PARA REALIZAR LOS PAGOS DE CIERTOS DAÑOS REAL DE
BOLSILLO SOSTENIDOS POR LOS PRESTATARIOS CAUSADOS POR ACTOS DE UN ORIGINADOR LICENCIADO DE
PRÉSTAMOS HIPOTECARIOS RESIDENCIALES. UNA SOLICITUD ESCRITA PARA REEMBOLSO DEL FONDO DE
RECUPERACIÓN NECESITA SER PRESENTADA E INVESTIGADA POR EL DEPARTAMENTO ANTES DEL PAGO DE UNA
RECLAMACIÓN. PARA OBTENER MÁS INFORMACIÓN SOBRE EL FONDO DE RECUPERACIÓN, CONSULTE AL SITIO WEB
DEL DEPARTAMENTO EN WWW.SML.TEXAS.GOV.




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                   Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 30 of 33

      P.O. BOX 51850
      LIVONIA MI 48151-5850                                                                   Phone Number: 866-825-2174
      RETURN SERVICE REQUESTED                                                                Fax: 866-467-1187
                                                                                              Email: Lossmitigation@shellpointmtg.com
      DTFFTFATFTDDFDTDAFDDFADFTFFTDDTAAADTDDDFTADTFDFAFAAFFTADFAADDAADF                       Mon - Thurs: 8:00AM-10:00PM
                                                                                              Fri: 8:00AM-10:00PM
      S-SFRECS20 L-1100-TX R-205
      PBM7DH00200240 - 612330734 I00958
      KENNETH R KING SR.                                                       Loan Number:
      2574 OLD BOONE PRAIRIE RD                                                Principal Balance: $78,998.22
      FRANKLIN TX 77856-5218

                                                                                                                               02/13/2020




                                             NOTICE OF DEFAULT AND INTENT TO ACCELERATE


RE:         Deed of Trust/Mortgage Dated: 03/29/2004
            Loan #:
            Property: 2574 Old Boone Prairie Rd
                      Franklin, TX 77856

Dear Kenneth R King Sr.:

Shellpoint Mortgage Servicing, (“Shellpoint”), as the mortgage servicer for MTGLQ Investors, L.P., the creditor and holder of your
mortgage promissory note (your “Loan”), and in accordance with your Deed of Trust/Mortgage and applicable state laws, provides
you with formal notice of the following:

The Loan associated with the referenced Deed of Trust/Mortgage is in default for failure to pay amounts due.

To cure this default, you must pay all amounts due under the terms of your Loan. As of 02/13/2020, the total amount necessary to
bring your Loan current is $75,666.46. After today’s date please contact our office at 866-825-2174 as interest, payments, credits,
fees and/or other permissible charges can continue to cause your account balance to vary from day to day. Payment must be in the
form of cashier’s check, money order, or bank certified funds.

If you have not cured the default within forty-five (45) days of this notice, Shellpoint will accelerate the maturity date of the
Loan and declare all outstanding amounts under the Loan immediately due and payable.

You may have the right to reinstate your Loan after acceleration and the right to bring a court action to claim that your Loan is not
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avoid losing their homes. To obtain a list of approved counseling agencies, please call (800) 569-4287.

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                                                                                                                P I000001 A-            102J0400
Sincerely,    Case 6:21-cv-00678-ADA-JCM Document 1-5 Filed 06/28/21 Page 31 of 33
Shellpoint Mortgage Servicing
866-825-2174

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related to this notice under federal law, including the Servicemembers Civil Relief Act (50 U.S.C. app Section 501 et seq) and state
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Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse is serving on
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another state or as a member of a reserve component of the armed forces of the United States, please send written notice of
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is to advise you of the status of your mortgage loan. This notice constitutes neither a demand for payment nor a notice of personal liability
to any recipient hereof, who might have received a discharge of such debt in accordance with applicable bankruptcy laws or who might be
subject to the automatic stay of Section 362 of the United States Bankruptcy Code. However, it may be a notice of possible enforcement of
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A successor in interest is someone who acquires an ownership interest in a property secured by a mortgage loan by transfer upon the death of a
relative, as a result of a divorce or legal separation, through certain trusts, between spouses, from a parent to a child, or when a borrower who
is a joint tenant or tenant by the entirety dies. If you are a successor in interest, or you think you might be, please contact by phone, mail or
email to start the confirmation process.
Our system of record has your preferred language as English.
If you prefer to receive communication in a language other than English, please contact us at 866-825-2174 to speak with a translator
in your preferred language about the servicing of your loan or a document you received.
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traductor en el idioma de su preferencia sobre la gestión de su préstamo o cualquier documento que haya recibido.
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J$l~• M, ~titt1J:aBll4$;qff!fltfi»T~t&~Jt #:i!trfflii-t                               o

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